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 5   Counsel for Plaintiff
 6

 7                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 8
      KAREN MARKHAM, individually, and on                ) CASE NO. 3:23-cv-03412-JSC
 9    behalf of those similarly situated,                )
                                                         )
10                           Plaintiff,                  )
                                                         ) HON. Jacqueline Scott Corley
11           v.                                          )
                                                         )
12    LESSEREVIL LLC,                                    )
                             Defendant.                  )
13

14

15                      JOINT STIPULATION OF VOLUNTARY DISMISSAL

16                                          WITHOUT PREJUDICE
17          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Karen
18
     Markham and Defendant stipulate to voluntarily dismiss this action without prejudice.
19
            This dismissal is sought in good faith.
20
            This dismissal shall not count as a subsequent litigation for purposes of F.R.C.P. 41(d).
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23   Dated: February 11, 2025

24                                                    Respectfully submitted,

25                                                     /s/ J. Ryan Gustafson
                                                       J. Ryan Gustafson (Cal. Bar No. 220802)
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